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                                                                      ·2· · · · (On the record 9:00 a.m.)
      ·3·   ·ON   BEHALF OF THE PLAINTIFF(S):
      ·4·   · ·   · RICHARD B. PODOLL, ESQUIRE                        ·3· · · · VIDEOGRAPHER:· We are now on the video
      · ·   · ·   · PODOLL & PODOLL, P.C.                             ·4· ·record.· The time is 9:00 Mountain time
      ·5·   · ·   · 5619 DTC PARKWAY, SUITE 1100                      ·5· ·March 1, 2022.· This begins the videotaped
      · ·   · ·   · GREENWOOD VILLAGE, COLORADO 80111
                                                                      ·6· ·deposition of Aaron Fleck taken in the
      ·6·   · ·   · 303-861-4000
      · ·   · ·   · RICH@PODOLL.NET                                   ·7· ·matter of the Aaron H. Fleck Revocable Trust
      ·7                                                              ·8· ·through its trustees, Aaron H Fleck and
      ·8                                                              ·9· ·Barbara G. Fleck, the Barbara G. Fleck
      ·9·   ·ON   BEHALF OF THE DEFENDANT(S):
                                                                      10· ·Revocable Trust through its trustees Aaron
      10·   · ·   · ADAM B. STERN, ESQUIRE
      · ·   · ·   · BRYAN CAVE LEIGHTON PAISNER, LLP
                                                                      11· ·H. Fleck and Barbara G. Fleck, Aaron Fleck
      11·   · ·   · 1700 LINCOLN STREET, SUITE 4100                   12· ·and Barbara G. Fleck versus First Western
      · ·   · ·   · DENVER, COLORADO 80203                            13· ·Trust Bank, Charles Bantis, and Andrew
      12·   · ·   · 303-861-7000                                      14· ·Godfrey, filed in the United States District
      · ·   · ·   · ADAM.STERN@BCLPLAW.COM
      13
                                                                      15· ·Court for the District of Colorado, case
      14                                                              16· ·number of which is 21-cv-01073-CMA-GPG.
      15·   ·ALSO APPEARING:                                          17· · · · I'm Ralph Mitchell your remote
      16·   · · · TIMOTHY R. BEYER, CO-COUNSEL WITH MR. STERN         18· ·videographer.· The court reporter is
      17·   · · · LAURA J. KNOPP, CO-COUNSEL WITH MR. PODOLL
      18·   · · · ROBERT PODOLL, CO-COUNSEL WITH MR. RICH PODOLL
                                                                      19· ·Jennifer Cormican and we represent Esquire
      19·   · · · VIDEOGRAPHER, RALPH MITCHELL                        20· ·Deposition Solutions.· Counsel, at this
      20·   · ·**All parties appearing via Zoom videoconference**     21· ·time, if you would please state your names
      21                                                              22· ·and whom you represent, afterwards the court
      22
                                                                      23· ·reporter will swear in the witness.
      23
      24                                                              24· · · · MR. RICH PODOLL:· Richard Podoll
      25                                                              25· ·representing the plaintiffs.


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                                                                                                          Esquire       Ex. 1               YVer1f
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      ·1· ·preparation for your deposition, the letter that             ·1· · · · A· · I formed a company and I managed portfolios
      ·2· ·Mr. Podoll submitted to the mediator in this matter?         ·2· ·for a few people.
      ·3· · · · A· · Yes.                                               ·3· · · · Q· · Is there a difference between, I guess,
      ·4· · · · Q· · Okay.· So I guess, other than the three            ·4· ·between managing portfolios for clients and being a
      ·5· ·documents you just named, which I think is the               ·5· ·stockbroker?
      ·6· ·complaint, the expert report, and the mediation              ·6· · · · A· · I would say, yes.
      ·7· ·letter, did you review any other documents in                ·7· · · · Q· · What's the difference?
      ·8· ·preparation for your deposition today?                       ·8· · · · A· · I really can't tell you except I felt, as a
      ·9· · · · A· · No.                                                ·9· ·registered investment advisor, that I had a superior
      10· · · · Q· · Did you have any meetings with Mr. Podoll or       10· ·duty in investigating stocks, companies, and making
      11· ·others in preparation for your deposition today?             11· ·recommendations to the needs of -- to the needs that
      12· · · · A· · Yes.                                               12· ·they requested.
      13· · · · Q· · And when did that meeting occur?                   13· · · · Q· · So you use registered investment advisor,
      14· · · · A· · Last night -- yesterday afternoon, I'm             14· ·what does that term mean?
      15· ·sorry.                                                       15· · · · A· · Well, it's registered with the FCC.· I may
      16· · · · Q· · And approximately how long was that meeting?       16· ·have been registered before that with the companies I
      17· · · · A· · Half hour.                                         17· ·worked for.· I really can't -- I don't recall whether
      18· · · · Q· · Did you have any other meetings besides the        18· ·I was or not.
      19· ·meeting yesterday with Mr. Podoll to prepare for your        19· · · · Q· · Okay.· And for how long, approximately, did
      20· ·deposition today?                                            20· ·you manage investment portfolios for clients?
      21· · · · A· · No.                                                21· · · · A· · To 2010.· From 1987 or -- '8 to 2010.
      22· · · · Q· · I want to shift gears and talk about your          22· · · · Q· · Okay.· And did you do that at Aaron Fleck
      23· ·employment history and professional background for a         23· ·and Associates?
      24· ·few minutes.· Are you a practicing attorney?                 24· · · · A· · I think that was the name, yes.
      25· · · · A· · I have a license, yes, but I'm not                 25· · · · Q· · Approximately how many clients did Aaron

                                                            Page 10                                                                  Page 12
      ·1· ·practicing.                                                  ·1· ·Fleck and Associates have?
      ·2· · · · Q· · Okay.· And when were you a practicing              ·2· · · · A· · I cannot give you an accurate figure, but I
      ·3· ·attorney?                                                    ·3· ·think more than 50, but I can't give you a figure. I
      ·4· · · · A· · Last time I practiced was 1962.                    ·4· ·don't -- I don't remember.
      ·5· · · · Q· · When you were a practicing attorney, what          ·5· · · · Q· · Okay.· And at its high point, do you know
      ·6· ·was your practice area?                                      ·6· ·approximately how much assets under management Aaron
      ·7· · · · A· · Workmen's compensation.                            ·7· ·Fleck and Associates managed for clients?
      ·8· · · · Q· · And for how long, approximately, did you           ·8· · · · A· · I can only guess.· I can't give you an
      ·9· ·practice law?                                                ·9· ·accurate figure but I would say several hundred
      10· · · · A· · Fourteen years.                                    10· ·million.· But that may be wrong.
      11· · · · Q· · After you were a practicing attorney, what         11· · · · Q· · Okay.· But I mean, can we agree that Aaron
      12· ·did you do professionally for work?                          12· ·Fleck and Associates, you know, managed a significant
      13· · · · A· · I was -- I did not work from 1962 to 1967          13· ·amount of assets for clients?
      14· ·or -8, and then I became a registered stockbroker.           14· · · · A· · Well, those are the figures and for most
      15· · · · Q· · What do you mean by registered stockbroker?        15· ·people, it's not very much.
      16· · · · A· · I had clients where I recommended purchase         16· · · · Q· · Would you call yourself sophisticated in the
      17· ·of stocks.                                                   17· ·world of investment management?
      18· · · · Q· · For how long were you a stockbroker?               18· · · · · · · · · MR. RICH PODOLL:· Object to form.
      19· · · · A· · I think until 1986 or -7.                          19· · · · A· · What is your definition of sophistication?
      20· · · · Q· · So is it accurate then that you were a             20· ·BY MR. STERN:
      21· ·stockbroker for approximately 20 years, from around          21· · · · Q· · I would say knowledgeable and experienced.
      22· ·1967 to 1986 or '87?                                         22· · · · A· · I was knowledgeable, I worked very hard, I
      23· · · · A· · Yes.                                               23· ·did a lot of research and if that's sophistication,
      24· · · · Q· · And then starting in 1986 or 1987, what did        24· ·then I was.
      25· ·you do professionally for work?                              25· · · · Q· · Okay.· What was your responsibility at Aaron


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      ·1· ·suffered damages due to the failure of First Western            ·1· · · · · · · · · MR. RICH PODOLL:· Okay.· Thanks Adam,
      ·2· ·to harvest additional tax losses for you?                       ·2· · · · · · ·we'll see ya in about 15 minutes.
      ·3· · · · A· · I can't recall what I did then.                       ·3· · · · · · · · · VIDEOGRAPHER:· Okay.· Hearing no
      ·4· · · · Q· · Okay.· Are you aware that your counsel has            ·4· · · · · · ·objections then, going off the video record.
      ·5· ·refused to produce to the defendants in this case, tax          ·5· · · · · · ·The time is 10:15 Mountain, going off the
      ·6· ·returns and brokerage account statements from 2020,             ·6· · · · · · ·video record.
      ·7· ·forward?                                                        ·7· · · · · · · · · (Off the record 10:15 a.m.)
      ·8· · · · A· · I haven't discussed that with them.                   ·8· · · · · · · · · (On the record 10:31 a.m.)
      ·9· · · · Q· · Okay.· How much did you and Barbara sell              ·9· · · · · · · · · VIDEOGRAPHER:· The time is 10:31
      10· ·your Aspen home for in 2018?                                    10· · · · · · ·Mountain.· We're back on video record.
      11· · · · A· · I believe 19 million.                                 11· · · · · · · · · MR. RICH PODOLL:· I just want to make a
      12· · · · Q· · What was your gain on the -- on the sale?             12· · · · · · ·record before we continue with the
      13· · · · A· · I can't recall.· It's in the -- I know what           13· · · · · · ·deposition that I have a hearing that came
      14· ·the -- well, I can't recall.                                    14· · · · · · ·up that I need to attend and until I can get
      15· · · · Q· · Do you know what your cost basis in your              15· · · · · · ·the back, my brother and law partner Rob is
      16· ·Aspen home was?                                                 16· · · · · · ·going to defend the deposition and represent
      17· · · · A· · I though they were 14 million, but I think            17· · · · · · ·Mr. Fleck.
      18· ·there were a great deal more, but I cannot recall.              18· · · · · · · · · MR. STERN:· Okay.
      19· · · · Q· · Going into 2018, did you and Barbara have             19· · · · · · · · · MR. RICH PODOLL:· Thank you, Adam.
      20· ·carryforward capital losses?                                    20· ·BY MR. STERN:
      21· · · · A· · Yes.                                                  21· · · · Q· · Sitting here today, do you know how much in
      22· · · · Q· · Do you know approximately how many                    22· ·taxes you and Barbara paid in 2018?
      23· ·carryforward capital losses you and Barbara had going           23· · · · A· · No.
      24· ·into 2018?                                                      24· · · · Q· · Well, you're aware, aren't you, that you and
      25· · · · A· · I thought I had, at the time we sold it, I            25· ·Barbara paid less than a thousand dollars in taxes to

                                                              Page 38                                                    Page 40
      ·1· ·thought we had a $5 million gain, and that's the       ·1· ·the IRS in 2018, aren't you?
      ·2· ·figure I thought.· I don't recall.· Now, what's this   ·2· · · · A· · Am I aware of it today, no.
      ·3· ·question now?                                          ·3· · · · Q· · Okay.· Well, I'm good to ask you to turn to
      ·4· · · · Q· · My question is:· Going into 2018, did you    ·4· ·Tab 22 of your binder, which I'm going to mark as
      ·5· ·and Barbara have carryforward capital losses?          ·5· ·Exhibit 3 and I'm also going to put Exhibit 3 up on
      ·6· · · · A· · I believe so.                                ·6· ·the screen so everyone can see it.
      ·7· · · · Q· · And you told that to First Western Trust     ·7· · · · · · · · · (Exhibit No. 3 marked.)
      ·8· ·Bank in 2018, right?                                   ·8· · · · A· · Twenty-three?
      ·9· · · · A· · I know they knew the cost of my house, they  ·9· ·BY MR. STERN:
      10· ·knew what I sold it for, they helped finance my house  10· · · · Q· · Twenty-two.· It's Tab 22 of your binder.
      11· ·when I built it, they knew what I sold it for, and at  11· · · · A· · Yes, okay.
      12· ·the time I spoke to them, I thought I had a $5 million 12· · · · Q· · Okay.· So do you have a document in front of
      13· ·gain.                                                  13· ·you that says, Internal Revenue Service United States
      14· · · · Q· · Okay.· I asked you a different question,     14· ·Department of Treasury and then --
      15· ·though.· My question is:· You told First Western Trust 15· · · · A· · Yes.
      16· ·Bank in 2018 that you and Barbara had carryforward tax 16· · · · Q· · -- it goes on?
      17· ·losses, didn't you?                                    17· · · · A· · Yes.
      18· · · · A· · I don't recall that.                         18· · · · Q· · Okay.· So is Exhibit 3 a copy of your and
      19· · · · · · · · · MR. RICH PODOLL:· Adam, when we can, if 19· ·Barbara's tax transcript from the IRS for the year
      20· · · · · · ·you could reach a breaking point, we've been 20· ·2018?
      21· · · · · · ·going about an hour and a quarter.           21· · · · A· · Yes.
      22· · · · · · · · · MR. STERN:· Okay.· We can take a break, 22· · · · Q· · Do you know what --
      23· · · · · · ·that's fine.                                 23· · · · A· · There --
      24· · · · · · · · · MR. RICH PODOLL:· About 15 minutes?     24· · · · Q· · I didn't mean to cut you off.· Do you want
      25· · · · · · · · · MR. STERN:· That's fine.                25· ·to finish your answer?


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      ·1· ·have, why you think it was gross -- grossly negligent?  ·1· · · · Q· · Okay.· Did you take any steps to get
      ·2· · · · · · · · · MR. ROB PODOLL:· Object.· Form.          ·2· ·comfortable with First Western Trust Bank's approach
      ·3· · · · A· · I've already told you.                         ·3· ·to portfolio management?
      ·4· ·BY MR. STERN:                                            ·4· · · · A· · I listened to what they said, but I didn't
      ·5· · · · Q· · Okay.· And what are the reasons?               ·5· ·investigate it.· I trusted them.
      ·6· · · · · · · · · MR. ROB PODOLL:· Object.· Form.           ·6· · · · Q· · Okay.· Did you have a meeting in
      ·7· · · · A· · I've already answered.                         ·7· ·February 2018 with First Western Trust Bank to discuss
      ·8· ·BY MR. STERN:                                            ·8· ·whether they would be investing the trusts assets?
      ·9· · · · Q· · Why did you select First Western Trust Bank    ·9· · · · A· · I didn't ask them ever to invest it back. I
      10· ·to manage the trusts portfolios?                         10· ·told them in January that I was seeking another
      11· · · · A· · Okay.· First of all, I had done business       11· ·manager because of what they did.· And at that
      12· ·with Charlie for at least 20 years at another bank and 12· ·meeting, Charlie, after talking for a long time, says
      13· ·he was very, very cooperative.· Then, I bought a home. 13· ·we made a mistake, we did the wrong thing.· Then, in
      14· ·The closing was in January.· The home I sold, I        14· ·February, when I met him in the office, he said I want
      15· ·believe was March or April, I can't recall.· So there  15· ·you to know, we've changed our procedures.· We didn't
      16· ·was a period then where I needed to close.· I was        16· ·have that in our procedure -- I thought they did, and
      17· ·short some money because I have been fully invested      17· ·we've changed it and we sent the directive out.· We
      18· ·for many years.· I didn't want to sell any securities    18· ·will notify our people in November.
      19· ·that we had so I asked Charlie if he would give me a     19· · · · Q· · Okay.· Did you take any notes at your
      20· ·bridge loan.· He immediately said yes, he didn't ask     20· ·meetings that you just discussed with Charlie in
      21· ·me to fill out any papers, he said how much do you       21· ·January and February of 2019?
      22· ·need, I told him, he said we'll give you 200,000 more    22· · · · A· · No, I didn't take any notes.· As I told you,
      23· ·so you have some leeway.· I said thank you, that's       23· ·I trusted them.
      24· ·very nice.· I says, you're the kind of banker I like,    24· · · · Q· · Okay.· And I was trying to ask you about a
      25· ·you do things to help a client.· I will give you some    25· ·meeting that occurred before the bank started

                                                      Page 102                                                           Page 104
      ·1· ·money to manage through your trust department.· I keep ·1· ·investing for the trusts.· Before that bank started
      ·2· ·my word.· I had other people that wanted to manage       ·2· ·investing for the trusts, did you have a meeting at
      ·3· ·some money for me, but I said I gave my word to          ·3· ·First Western's office to discuss the investment
      ·4· ·Charlie, I will give him some money to manage.· I keep   ·4· ·policy statement and whether you were going to have
      ·5· ·my word, they didn't keep theirs.                        ·5· ·the bank invest the trusts' assets?
      ·6· · · · Q· · Okay.· I think you said you didn't want to     ·6· · · · A· · I can tell you that every time I came in,
      ·7· ·keep sell any of the securities that you had, why was    ·7· ·not every time, most of the time when I came into
      ·8· ·that?                                                    ·8· ·deposit a check, I had some words with Andy Godfrey.
      ·9· · · · A· · Because I had 80 to 90 percent profit in       ·9· ·Sometimes with -- a couple times with Charlie.· Not
      10· ·every security, almost every security we owned.          10· ·often was Charlie as much as Andy.
      11· ·That's why I think those figures were wrong.             11· · · · Q· · Okay.· But in early February 2018, did you
      12· · · · Q· · Okay.· Well, you know, don't you, that         12· ·have a meeting that you brought your daughter Kathryn
      13· ·Charlie Bantis is not a portfolio manager?               13· ·Pasa and your son-in-law Harry Pasa to --
      14· · · · A· · I know that he was the so-called president     14· · · · A· · Yes, yes.· Well, I don't know about
      15· ·of that branch.                                          15· ·February.
      16· · · · Q· · Okay.· So what --                              16· · · · Q· · Okay --
      17· · · · A· · I knew Andy because he was friends with my     17· · · · A· · But I know what my son-in-law said.
      18· ·daughter for years, she was married in 1992.· I think    18· · · · Q· · Before the bank started investing assets for
      19· ·he was part of the ceremony then, but I'm not certain    19· ·the trusts, did you --
      20· ·because she told me that she's known him all these       20· · · · A· · That meeting wasn't in February, I though
      21· ·years, and I trusted him.                                21· ·that meeting was in the -- maybe in '18, yeah, maybe
      22· · · · Q· · Okay.· Did you take any steps to get           22· ·'18.· We had a meeting before we invested.
      23· ·comfortable --                                           23· · · · Q· · Okay.
      24· · · · A· · I also knew that he worked for a brokerage     24· · · · A· · That was a long time before.· That was
      25· ·firm prior to this.                                      25· ·probably, maybe early in the year, not late in the


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      ·1· ·year, the meeting they went to.                              ·1· ·Cincinnati, Citicorp, I don't know if I was talking to
      ·2· · · · Q· · Okay.· So I just want to make sure we get a        ·2· ·Morgan Guaranty.· There was one or two others that I
      ·3· ·clear record because we spoke over each other a bit.         ·3· ·had spoken to.· I don't recall them all.· And I had --
      ·4· ·So at some point early in 2018 before the bank started       ·4· · · · Q· · And you --
      ·5· ·investing for the trusts, did you have a meeting with        ·5· · · · A· · And I had other friends were money managers,
      ·6· ·the bank and --                                              ·6· ·but I didn't consider them.
      ·7· · · · A· · Yes.                                               ·7· · · · Q· · Okay.· So you chose First Western to manage
      ·8· · · · Q· · -- you brought your daughter and son-in-law        ·8· ·the trusts assets in 2018 over four or five other
      ·9· ·to?                                                          ·9· ·banks; is that right?
      10· · · · A· · Yes.                                               10· · · · A· · Because I gave them my word and I've lived
      11· · · · Q· · And at that meeting, do you know who went          11· ·up to my word my whole life.
      12· ·for First Western?                                           12· · · · Q· · Okay.· Now --
      13· · · · A· · I can't remember.                                  13· · · · A· · I gave them an opportunity, my son-in-law
      14· · · · Q· · Do you recall --                                   14· ·and daughter said, do not invest with them.· They are
      15· · · · A· · I'm trying to think.· There was somebody           15· ·not capable.· I said, I gave them my word.
      16· ·there from Denver, I think.· And that was the purpose        16· · · · Q· · Okay.· Can you tell me what everything you
      17· ·of the meeting, either one or two people from Denver,        17· ·remember about what your son -- your daughter and
      18· ·but I can't think who was at the table.                      18· ·son-in-law told you about whether to invest in First
      19· · · · Q· · Do you recall that John Sawyer, the chief          19· ·Western Trust Bank?
      20· ·investment officer of First Western attended the             20· · · · A· · No, I can't remember everything.
      21· ·meeting in early 2018 with you?                              21· · · · Q· · Okay.· What do you remember?
      22· · · · A· · If he was the person, yes.                         22· · · · · · · · · (Crosstalk.)
      23· · · · Q· · Do you recall that Doug Barker, a portfolio        23· · · · A· · -- they said what they saw and didn't like.
      24· ·manager at First Western also attended the meeting           24· · · · Q· · Okay.· And sitting here today, what do you
      25· ·with you and your daughter and son-in-law in early           25· ·recall about why your daughter and son-in-law

                                                             Page 106                                                     Page 108
      ·1· ·2018?                                                        ·1· ·recommended that you not have First Western Trust Bank
      ·2· · · · A· · Yes.· As I said, I thought there were two          ·2· ·invest the trusts assets?
      ·3· ·people there.                                                ·3· · · · A· · I can't recall but I will ask them and get
      ·4· · · · Q· · And you also recall that Travis Van Domelen        ·4· ·that information for you.
      ·5· ·attended the meeting with you and your son -- your           ·5· · · · Q· · Okay.· Did you sign an Investment Policy
      ·6· ·daughter and son-in-law in early 2018?                       ·6· ·Statement before First Western began to invest the
      ·7· · · · A· · No, he was the intern at the bank.                 ·7· ·trusts assets?
      ·8· · · · Q· · Okay.· Did Barbara attend the meeting in           ·8· · · · A· · I can't recall when.
      ·9· ·early 2018?                                                  ·9· · · · Q· · Okay.· Let's put it on the screen.· So it's
      10· · · · A· · I don't know.· I can't remember.                   10· ·Tab 10 in your binder and it's going to be Exhibit 6.
      11· · · · Q· · Okay.· And the purpose of this meeting in          11· ·I will put it on the screen, too.
      12· ·early 2018 was to talk about whether First Western           12· · · · · · · · · (Exhibit No. 6 marked.)
      13· ·would be investing the trusts assets, right?                 13· · · · A· · Six?
      14· · · · A· · There is talk about their philosophies and         14· ·BY MR. STERN:
      15· ·because they knew I was talking to three or four other       15· · · · Q· · Tab 10 in your binder.
      16· ·money managers and they were trying to sell us the           16· · · · A· · Ten, I'm sorry.
      17· ·right to manage.· There were --                              17· · · · Q· · But we're marking it as Exhibit 6.
      18· · · · Q· · And at that meeting, you went over an              18· · · · A· · I guess Barbara was there, she signed.
      19· ·Investment Policy Statement with First Western, didn't       19· · · · Q· · Okay.· So do you have in front of you a
      20· ·you?                                                         20· ·document that says Investment Policy Statement for
      21· · · · A· · I think they had a chart that they put on          21· ·Aaron and Barbara Fleck?
      22· ·the wall.                                                    22· · · · A· · Yes.
      23· · · · Q· · Who were the other investment managers you         23· · · · Q· · It's dated on the front 2/27/2018?
      24· ·were considering in 2018, other than First Western?          24· · · · A· · Yes.
      25· · · · A· · Republic Bank in LA, Fifth Third in                25· · · · Q· · Okay.· So do you now recall that your


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     AARON H. FLECK                                                                                                  March 01, 2022
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                                                        Page 109                                                        Page 111
      ·1· ·meeting with First Western about whether they would   ·1· · · · Q· · Okay.· But you understood, didn't you, that
      ·2· ·invest the trusts assets occurred in late             ·2· ·this Investment Policy Statement was going to govern
      ·3· ·February 2018?                                        ·3· ·the terms by which First Western invested the trusts
      ·4· · · · A· · It was 2018, it was -- I think it was May or    ·4· ·assets?
      ·5· ·June that we started.                                     ·5· · · · A· · And then, when I saw what they invested in,
      ·6· · · · Q· · Okay.· If you go to the last page, you can      ·6· ·I think they put it in besides bonds, 185 and 50
      ·7· ·see you signed -- well, let me ask you, is that your      ·7· ·stocks, 230 stocks, I said that's not investing.
      ·8· ·signature on the last page on the second line?            ·8· ·That's taking somebody else's -- you don't know
      ·9· · · · A· · Yes.· Yes, it was May, like I just said, I      ·9· ·anything about it, you don't have enough animus in
      10· ·just testified to.                                        10· ·your company to cover that.· I did go in sometime in
      11· · · · Q· · Okay.· Did you sign this Investment Policy      11· ·October and November and tell them that.· I didn't
      12· ·Statement on May 8, 2018?                                 12· ·look at this until -- I was going to look at it at the
      13· · · · A· · That's my signature.                            13· ·end of the year but I happened to look at it in
      14· · · · Q· · Okay.· And do you recognize whether the         14· ·November or December, as I said.
      15· ·signature on the line above yours is Barbara Fleck's      15· · · · Q· · Okay.· Well, we'll get there, but I asked
      16· ·signature?                                                16· ·you a different question.· My question is:· When you
      17· · · · A· · That is Barbara's signature.                    17· ·signed the Investment Policy Statement, you
      18· · · · Q· · Okay.· And before you signed this Investment    18· ·understood, didn't you, that it governed the terms by
      19· ·Policy Statement, did you carefully review it?         19· ·which First Western would manage the trusts accounts?
      20· · · · A· · I looked at it and I commented on it, but    20· · · · A· · And I told them my objection but I signed
      21· ·they didn't change the comments.· They didn't put them 21· ·the statement, yes.
      22· ·in.                                                    22· · · · Q· · Okay.· Now, did you understand that the
      23· · · · Q· · Okay.· What comments did you make?              23· ·purpose of the Investment Policy Statement was to put
      24· · · · A· · They -- I told them I did not want any          24· ·forth a plan for the management of your investment
      25· ·commodities, I didn't want to have -- well, I see the     25· ·assets?

                                                          Page 110                                                         Page 112
      ·1· ·bonds, but if they wanted to stand behind them, they    ·1· · · · A· · And when I saw the plan later on, I told
      ·2· ·could put them in, but I have never invested in bonds   ·2· ·them they didn't live up to my thoughts at the time.
      ·3· ·or commodities in our life and didn't want to start.      ·3· · · · Q· · Okay.· Well, if you look at the first
      ·4· ·So they had, I guess, a lot of fixed income.· I told      ·4· ·sentence of the Investment Policy Statement, do you
      ·5· ·them I never invested with fixed income either.           ·5· ·see that it says that the statement was developed
      ·6· · · · · · ·The alternatives, I don't -- we didn't talk     ·6· ·jointly by First Western and you agreed to that,
      ·7· ·much, but I think they were talking alternatives,         ·7· ·didn't you?
      ·8· ·commodities, and I didn't ever want to be in              ·8· · · · A· · I'm looking for that sentence.
      ·9· ·commodities.· Some of the others, I didn't have much      ·9· · · · Q· · On the -- if you look at the first, the
      10· ·ever in international equities, but I've had a lot in 10· ·second page, right under Overview it says, "The
      11· ·emerging markets.· That these were -- and I gave them 11· ·purpose of this Investment Policy Statement (IPS) is
      12· ·my portfolio to show them what I had invested in and  12· ·to put forth a plan, developed jointly by First
      13· ·that there were only 20 securities and I told them    13· ·Western and you, for the management of your investment
      14· ·that I don't want many securities.· I want a minimal      14· ·assets"; do you see that?
      15· ·amount because that's what I believe that -- I didn't     15· · · · A· · Yes.
      16· ·believe in diversification.· And I talked about           16· · · · Q· · Okay.· And you agreed by signing this
      17· ·diversification, and this was a little bit more than      17· ·Investment Policy Statement that this statement had
      18· ·I've ever done.· But, I guess I was testing them.         18· ·been jointly developed by you and First Western,
      19· · · · Q· · Okay.· Before you signed the Investment         19· ·right?
      20· ·Policy Statement, did you agree with it?                  20· · · · A· · No, I agreed that that's what they were
      21· · · · A· · No.· I told them I didn't, but I signed it.     21· ·proposing, but I told them how I felt.· They were
      22· · · · Q· · Why did you sign it if you didn't agree with    22· ·there to sign it, they didn't change it.· So I gave
      23· ·it?                                                       23· ·them six months to see what they -- how they were
      24· · · · A· · Because I guess I was a fool and I trusted      24· ·gonna manage it and whether they were going to listen
      25· ·them.                                                     25· ·to what I said over and over every time I went into


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     AARON H. FLECK                                                                                              March 01, 2022
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                                                               Page 113                                                   Page 115
      ·1· ·the office.· I said, do you still have 185 securities        ·1· · · · Q· · Okay.· But as someone who has spent decades
      ·2· ·and, I guess, 50 or 80 in the second account and he          ·2· ·in the investment management field, you must
      ·3· ·never answered me.· When I finally got their quarterly      ·3· ·understand that no portfolio manager can guarantee
      ·4· ·statement, I think it was in November, when I saw what      ·4· ·returns, right?
      ·5· ·they did, I complimented on the tax loss and told them      ·5· · · · A· · You don't guarantee, but you do have a
      ·6· ·to take them out.· I already testified to that.             ·6· ·target.· And at least I came dang close to my targets
      ·7· · · · Q· · Okay.· You and First Western agreed that the      ·7· ·for 20 -- let's see, '88 to 2010, I think I averaged
      ·8· ·investment time horizon for the trust accounts was ten      ·8· ·19 percent a year.
      ·9· ·plus years, correct?                                        ·9· · · · Q· · Okay.· So you know that portfolio managers
      10· · · · A· · If they performed.                                10· ·never guarantee performance, they just have a
      11· · · · Q· · Okay.· So it's your position --                   11· ·performance target, right?
      12· · · · A· · The IPS -- they were not following what they      12· · · · A· · We have targets and you try to live up to
      13· ·wanted and when they refused to take losses, and I saw 13· ·your target.
      14· ·the January statement -- the December statement, I     14· · · · Q· · Okay.· And if you take a look at the second
      15· ·told them I'm getting another manager and not to trade      15· ·page of the Investment Policy Statement at the bottom,
      16· ·anymore.                                                    16· ·you see that the expected long-term return target for
      17· · · · Q· · Okay.· You and First Western agreed on a          17· ·the trust account was 6.48 percent, right?
      18· ·risk tolerance of moderate, correct?                        18· · · · A· · They told me that was the yearly, second
      19· · · · A· · I don't remember those words but, you know,       19· ·page -- hold on, I'm on the wrong page.· Yes, 6.4.
      20· ·it says moderate and that definitely wasn't moderate.       20· ·That was the return and the income was 4- to 600,000.
      21· · · · Q· · And you understand --                             21· · · · Q· · Okay.· But you understood that the return
      22· · · · A· · The market -- if you know the market was up       22· ·target was a long-term target for an account investing
      23· ·at 23 percent and they were down 10 percent.· That's a      23· ·over 10 plus years, didn't you?
      24· ·difference of 33 percent.· I don't call that moderate.      24· · · · A· · No.· I considered that yearly.
      25· · · · Q· · Your position is that the market was up           25· · · · Q· · You considered that yearly, okay.· Can you

                                                            Page 114                                                           Page 116
      ·1· ·33 percent over what time period?                           ·1· ·take a look at the fifth page of the Investment Policy
      ·2· · · · A· · Twenty-three during the year of 2018.             ·2· ·Statement and please go down to Section 7, and I'll
      ·3· ·That's what I remember, I could be wrong.· I've been        ·3· ·load it on my screen; do you see that?
      ·4· ·wrong before.                                               ·4· · · · A· · Yes.
      ·5· · · · Q· · Are you aware that the market was down            ·5· · · · Q· · Okay.· And did you read this before you
      ·6· ·considerably in the fourth quarter of 2018?                 ·6· ·signed the Investment Policy Statement?
      ·7· · · · A· · I remember that it was up for the year. I         ·7· · · · · · · · · MR. ROB PODOLL:· Please give him a
      ·8· ·don't remember that.                                        ·8· · · · · · ·moment to read it first, please.
      ·9· · · · Q· · Now, did you understand that a moderate risk      ·9· · · · A· · That's when I said, they expected a return
      10· ·allocation would entail some stocks and some fixed          10· ·of about 6 percent.
      11· ·income assets?                                              11· ·BY MR. STERN:
      12· · · · A· · No.· I was more interested in stocks than         12· · · · Q· · Okay.
      13· ·income, than fixed income.                                  13· · · · A· · But their -- I don't know what this top line
      14· · · · Q· · Okay.· So was your position --                    14· ·means, percentile, that's the figure I don't
      15· · · · A· · There were two objectives in this account,        15· ·understand.· And the third line, I don't understand.
      16· ·which they sent.· I told them I need income of 600,000      16· · · · Q· · Mr. Fleck, have you had a chance to review
      17· ·a year.· They said we can do 4- to 600,000 a year           17· ·paragraph seven of the Investment Policy Statement?
      18· ·income for you.· And the second thing we'll do, we'll       18· · · · A· · No.· In fact, I don't know if I ever read
      19· ·also make at least 6 percent net, which they put in         19· ·it, but it's there.
      20· ·the paper.                                                  20· · · · Q· · Okay.· So before you approved First Western
      21· · · · Q· · So are you saying that First Western              21· ·to invest $8 million of the trusts assets, did you
      22· ·guaranteed a 6 percent annual return?                       22· ·bother to read the expected return range in the
      23· · · · A· · I don't know what a guarantee is.· They told      23· ·Investment Policy Statement?
      24· ·me their word, I may be foolish to believe them, but I      24· · · · · · · · · MR. ROB PODOLL:· Objection.· Form.
      25· ·did believe them.                                           25· · · · A· · I can't answer that at this time, I don't


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     AARON H. FLECK                                                                                                 March 01, 2022
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                                                                 Page 117                                                          Page 119
      ·1· ·know.· I can't remember reading it.                              ·1· ·indicated by the 10-year range in the above table."
      ·2· ·BY MR. STERN:                                                    ·2· · · · A· · Where is that?
      ·3· · · · Q· · And do you see the third sentence of that              ·3· · · · Q· · It's the last paragraph of Section 7.
      ·4· ·provision it says, "Actual performance will vary from            ·4· · · · A· · Yes.· Apparently, I didn't read that. I
      ·5· ·these assumed rates and there is no guarantee that               ·5· ·don't remember that.· I don't remember, but I don't
      ·6· ·this return objective will be achieved either in any             ·6· ·know whether I read it or not, but I don't remember
      ·7· ·single year or over longer time periods"; do you see             ·7· ·that.
      ·8· ·that?                                                            ·8· · · · Q· · Okay.· Do you at least agree that if you had
      ·9· · · · A· · Yes, I read that.                                      ·9· ·read this Investment Policy Statement before you
      10· · · · Q· · And you knew that before you invest --                 10· ·signed it, you would have known that First Western's
      11· ·before you signed the Investment Policy Statement                11· ·return target was a long-term target not a single-year
      12· ·didn't you?· You knew that First Western --                      12· ·target?
      13· · · · A· · I can't recall.· I don't think I knew that.            13· · · · A· · We only talked single years.· I told them
      14· · · · Q· · Okay.                                                  14· ·what I expect each year.· They said -- they didn't say
      15· · · · A· · I was going on what they told me because I             15· ·6.4.· They said 8 percent.· Then I said I'll be happy
      16· ·believed them.                                                   16· ·with six.
      17· · · · Q· · Okay.· Well, do you see this chart at the              17· · · · Q· · Okay.· But my question is:· Do you agree
      18· ·top of page 6 of the Investment Policy Statement?                18· ·with me that if you had read this Investment Policy
      19· · · · A· · I don't understand what the percentile is.             19· ·Statement before you signed it, you would have known
      20· ·I never worked with percentiles and I saw the expected           20· ·that this return target was a long-term target not a
      21· ·value.                                                           21· ·single-year target?
      22· · · · Q· · Do you see that --                                     22· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
      23· · · · · · · · · (Crosstalk.)                                      23· · · · A· · No.
      24· · · · A· · -- is returned.· Actually, they told me a              24· ·BY MR. STERN:
      25· ·higher return, but I told them that I was satisfied              25· · · · Q· · Okay.

                                                               Page 118                                                           Page 120
      ·1· ·with six.                                                        ·1· · · · A· · I judge them by their conversation which…
      ·2· · · · Q· · Okay.· Do you understand the chart to be               ·2· · · · Q· · Okay.· How long did First Western invest the
      ·3· ·saying --                                                        ·3· ·trusts assets?
      ·4· · · · · · · · · (Crosstalk.)                                      ·4· · · · A· · Well, I told him to stop in January and
      ·5· · · · A· · -- they even told me 8 percent in figures in           ·5· ·February.· I didn't get another manager until -- I
      ·6· ·what they said because I said, and I think they put              ·6· ·don't know exactly which month.· But they managed it
      ·7· ·down on my paper 6 percent.                                      ·7· ·until I think May or June.· I'm not certain as to the
      ·8· · · · Q· · Okay.· Mr. Fleck, I'm going to ask you to              ·8· ·dates.
      ·9· ·only answer the question that I asked.· My question              ·9· · · · Q· · Okay.· And First Western started investing
      10· ·is:· Do you understand that the column year one in the           10· ·the trusts assets in late May 2018; is that accurate?
      11· ·chart at the top of page 6 of the Investment Policy              11· · · · A· · Yes.
      12· ·Statement, to be saying that First Western anticipates           12· · · · Q· · So overall --
      13· ·that the returns in the first year will be somewhere             13· · · · A· · When did they start?· They started in May.
      14· ·between negative 5.7 percent and 20.4 percent?                   14· · · · Q· · Yes.
      15· · · · A· · Nope, I didn't.· In fact, I really didn't              15· · · · A· · Of '18.
      16· ·remember that chart.· All I saw was expected value to            16· · · · Q· · Okay.· Yes, that was my question, First
      17· ·go up 6 percent.· That's all I remember them saying.             17· ·Western started investing the trusts assets in May
      18· · · · Q· · And if you look at the paragraph at the                18· ·of 2018, correct?
      19· ·bottom of Section 7, do you see that it says, "Based             19· · · · A· · Yes, yes.
      20· ·on historical returns and First Western's 10-year                20· · · · Q· · And overall, First Western invested the
      21· ·capital market assumptions the nominal, 10-year                  21· ·trusts assets for less than a year, correct?
      22· ·expected annual return of your portfolio, net of fees,           22· · · · A· · For one year.
      23· ·but before any applicable taxes, is approximately                23· · · · Q· · Okay.· And do you know what the return on
      24· ·6.48 percent.· You're actual experience may vary                 24· ·investment was for the trusts accounts over the one
      25· ·widely from this single point potential return as                25· ·year that First Western managed the accounts?


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                                                                 Page 121                                                              Page 123
      ·1· · · · A· · I can't remember.· I don't know.· I don't              ·1· · · · A· · Did I know -- say that again, please.
      ·2· ·think they made any money.                                       ·2· · · · Q· · Did you know that the Investment Policy
      ·3· · · · Q· · Okay.· So you're not aware that the trust              ·3· ·Statement controlled what asset classes the bank had
      ·4· ·did, in fact -- sorry, let me start over.· Sitting               ·4· ·to invest in for the trusts?
      ·5· ·here today, are you aware that First Western made                ·5· · · · A· · I thought they listened to me because I was
      ·6· ·several hundred thousand dollars for the trusts by               ·6· ·in there very often talking about the numbers,
      ·7· ·investing their assets?                                          ·7· ·securities, and it doesn't make any sense.
      ·8· · · · A· · I can't answer that.· I don't -- I'm not               ·8· · · · Q· · Okay.
      ·9· ·aware.                                                           ·9· · · · A· · And I told them -- I asked them, do you have
      10· · · · Q· · Okay.· Can you take a look at paragraph two            10· ·analysts in Denver that control all this?· Yes, we
      11· ·of the Investment Policy Statement, Time Horizon; do             11· ·have analysts.
      12· ·you see that?                                                    12· · · · Q· · We talked about this earlier, I mean, you
      13· · · · A· · Yes.                                                   13· ·knew that the bank had discretion to select securities
      14· · · · Q· · Do you see where it says, "Your investment             14· ·for the trusts, right?
      15· ·portfolio is based on an investment time horizon of              15· · · · A· · Yes.
      16· ·10-plus years.· As a result, interim short-term                  16· · · · Q· · Okay.· And did you think you had the right
      17· ·investment fluctuations should be viewed with                    17· ·to override the banks choice of securities?
      18· ·appropriate perspective.· The strategic asset                    18· · · · A· · I think they, in that paragraph you read,
      19· ·allocation has been developed as a long-term strategy            19· ·they were going to listen to me and do what I asked of
      20· ·for the management of your investment assets"; do you 20· ·them.· They had my other accounts.· They saw how many
      21· ·see that?                                             21· ·securities was in each account.
      22· · · · A· · I read it, yes.                                        22· · · · Q· · Okay.· Do you agree that --
      23· · · · Q· · Okay.· And did you know that before you                23· · · · A· · In fact, they knew that I managed money for
      24· ·signed the Investment Policy Statement?                          24· ·people and never had more than 30 accounts, usually 20
      25· · · · A· · Frankly, I don't remember that.· So I can't            25· ·stocks in each account.· They knew all that.

                                                           Page 122                                                        Page 124
      ·1· ·answer that.· I don't remember saying 10 years to        ·1· · · · Q· · But First Western told you at the meeting in
      ·2· ·them.· I was doing it on a year-to-year basis, but I     ·2· ·early 2018 that they were -- had their own investment
      ·3· ·see that.                                                        ·3· ·philosophy, right, and it involved more
      ·4· · · · Q· · Okay.· And if you had been aware that First            ·4· ·diversification than your typical -- than your
      ·5· ·Western planned to manage the trusts assets on a                 ·5· ·approach?
      ·6· ·long-term 10-plus year basis, would you have let them            ·6· · · · A· · They told me that they were going to
      ·7· ·manage the trusts assets?                                        ·7· ·diversify in large companies, smaller companies,
      ·8· · · · A· · Would I have managed?                                  ·8· ·emerging companies.· I never expected them to have 230
      ·9· · · · Q· · Would you have let them manage the trusts              ·9· ·stocks in a small account of $8 million.· If you
      10· ·assets?                                                          10· ·divide 235 into 8 million, you'll see that each
      11· · · · A· · Probably not.· I didn't expect to be a                 11· ·investment -- I don't know what it comes up to, $20-,
      12· ·co-manager for 10 years when I've had heart trouble,             12· ·30-, $40,000.· That's not investing.· And they told
      13· ·with so-called stroke, and cancer, I didn't think I              13· ·them that over a period of time.
      14· ·would live out a whole year.                                     14· · · · Q· · Okay.· Do you agree that if you were silent
      15· · · · Q· · Okay.                                                  15· ·about security choice, First Western had full
      16· · · · A· · I wasn't given a year to live.                         16· ·discretion to choose what securities to invest in for
      17· · · · Q· · But weren't these trusts set up to provide             17· ·the trusts?
      18· ·income to your wife Barbara and your children?                   18· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
      19· · · · A· · It was to provide 600,000 a year income                19· · · · A· · I told them I was giving them a year. I
      20· ·which they said they would easily do and I don't know            20· ·didn't realize that it was 10 years.
      21· ·what the actual was.· I think it was 200,000, but I'm            21· · · · Q· · Okay.
      22· ·not certain.                                           22· · · · A· · And I'll see how they perform.· I will not
      23· · · · Q· · Okay.· Did you know that there was -- that   23· ·talk to them month-to-month.· I will not talk to them
      24· ·the Investment Policy Statement controlled what assets 24· ·quarter-to-quarter, but I'll see what they did by the
      25· ·the bank had to invest in for the trusts?              25· ·end of the year.


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    AARON H. FLECK                                                                                                      March 01, 2022
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     ·1· · · · Q· · Okay.· So I want to understand that last              ·1· · · · A· · Probably not.
     ·2· ·point you made.· Did you tell the bank that you didn't          ·2· · · · Q· · Okay.
     ·3· ·expect it --                                                    ·3· · · · A· · Had they explained to me what they are doing
     ·4· · · · · · · · · (Crosstalk.)                                     ·4· ·and how they managed money.· I trusted them and I was
     ·5· · · · A· · -- I told that to the person I spoke to               ·5· ·trying to live up to my word by rewarding them with
     ·6· ·most, was Andy.· The other young man -- what was his            ·6· ·something because I do not know their position in
     ·7· ·name, it wasn't Paul, it was something else.                    ·7· ·town, but I said, you did do something good for me,
     ·8· · · · Q· · Travis?                                               ·8· ·I'll do something good for you.
     ·9· · · · A· · Yes, he wasn't registered to take orders.             ·9· · · · Q· · Okay.· I'm going to ask you about one more
     10· ·He was still studying to become whatever he was trying          10· ·provision then we can go on.· Do you see paragraph
     11· ·to become, an RIA or something, he never told me.· And 11· ·nine, Selection Criteria?
     12· ·then he told me when he passed of the exam and I                12· · · · A· · Paragraph nine.
     13· ·congratulated him.                                              13· · · · Q· · Do you see that paragraph nine of the
     14· · · · Q· · Did you tell Andy Godfrey that you didn't             14· ·Investment Policy Statement says, "Securities and/or
     15· ·expect to talk to the bank on a monthly or quarterly            15· ·investment sub-advisors used to implement the
     16· ·basis, you just wanted to see how they did for a year?          16· ·investment portfolio and the period taken to fully
     17· · · · A· · On the accounts on a monthly of basis, but I          17· ·invest the portfolio to reach the target allocation,
     18· ·was in there often and we paid off the loan when we --          18· ·shall be subject to selection criteria and discretion
     19· ·every month I deposited checks there.                           19· ·of First Western Trust.· The securities and investment
     20· · · · Q· · Okay.· Do you see on paragraph five of the            20· ·sub-advisors will be monitored for adherence to your
     21· ·Investment Policy Statement, Asset Class Holding                21· ·IPS."
     22· ·Ranges?                                                         22· · · · A· · I don't recall reading it, but I see it.
     23· · · · A· · I don't know if this was -- paragraph five.           23· · · · Q· · Okay.· But you understand those words to
     24· ·Yes, I read it.                                                 24· ·mean that First Western Trust had discretion over your
     25· · · · Q· · Okay.· At the time that you signed the                25· ·trust accounts, right?

                                                         Page 126                                                              Page 128
     ·1· ·Investment Policy Statement, did you understand that            ·1· · · · A· · I think Rule 401 supersedes this.
     ·2· ·First Western had certain ranges that they had to               ·2· · · · Q· · Okay.
     ·3· ·invest in certain asset classes?                                ·3· · · · A· · To know your customer.· And since I had
     ·4· · · · A· · No.                                                   ·4· ·talked to them so much, I thought they knew me.· 401
     ·5· · · · Q· · So did you understand that 39 to 59 percent           ·5· ·was not lived up to.
     ·6· ·of the trust portfolios was going to be a fixed income          ·6· · · · Q· · Okay.· Do you know -- okay, let me ask you
     ·7· ·and it had to be under the Investment Policy                    ·7· ·this --
     ·8· ·Statement; did you understand that?                             ·8· · · · A· · 401 supersedes that paragraph.
     ·9· · · · A· · I thought there would be maybe some fixed             ·9· · · · Q· · Okay.· Are you aware that the plaintiffs in
     10· ·income, not -- let's see, how much is it -- fixed               10· ·this case allege that First Western Trust Bank
     11· ·income, 73 percent, I never thought that there would            11· ·breached the Investment Policy Statement?
     12· ·be 73 percent of fixed income.                                  12· · · · A· · Yes.
     13· · · · Q· · So this says --                                       13· · · · Q· · Okay.· So you have the Investment Policy
     14· · · · A· · They were going to put $5 million in fixed            14· ·Statement in front of you and I'm happy to put it back
     15· ·income, that was crazy.                                         15· ·on the screen.
     16· · · · Q· · Okay.· So I guess, at the time that you               16· · · · A· · Hold on one second.
     17· ·signed the Investment Policy Statement, you didn't              17· · · · · · · · · (Deponent takes a phone call.)
     18· ·realize that First Western had to invest 39 to                  18· · · · A· · I had to take that call.
     19· ·59 percent of the trusts assets in fixed income --              19· ·BY MR. STERN:
     20· · · · A· · No.                                                   20· · · · Q· · No problem.· Can you tell me every provision
     21· · · · Q· · Right?                                                21· ·of the Investment Policy Statement that you allege
     22· · · · A· · No.· I though a million dollars was what              22· ·First Western breached?· And if you want, I can put it
     23· ·they were going to invest in it.                                23· ·back on the screen but you also have it in front of
     24· · · · Q· · Had you have read this Investment Policy              24· ·you.
     25· ·Statement, would you have still signed it?                      25· · · · · · · · · MR. ROB PODOLL:· Object.· Form.


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     ·1· · · · A· · Can I tell you?· I can read each one and I          ·1· · · · Q· · Okay.· I'm --
     ·2· ·think it's very clear that they kept, if any.                 ·2· · · · A· · At the age that I was, I don't know how long
     ·3· ·BY MR. STERN:                                                 ·3· ·they expected me to live when they knew that my
     ·4· · · · Q· · So feel free to please tell me which                ·4· ·timeframe was one year.· So they're talking about
     ·5· ·provisions of the Investment Policy Statement you             ·5· ·long-term for me.
     ·6· ·allege that First Western breached.                           ·6· · · · Q· · Okay.· I think we can move on to a different
     ·7· · · · · · · · · MR. ROB PODOLL:· Object.· Form.                ·7· ·topic.
     ·8· · · · A· · I don't see them on the screen.· I thought          ·8· · · · A· · Well, I can go over paragraph by paragraph,
     ·9· ·you were going put them up on the screen.                     ·9· ·but I won't.
     10· ·BY MR. STERN:                                                 10· · · · Q· · Okay.· Did you sign an Investment Services
     11· · · · Q· · I can put them back on the screen.· You also        11· ·and Custody Agreement with First Western before they
     12· ·have it in front of you, but here, I'll put it on the         12· ·began to invest assets in the trusts?
     13· ·screen.                                                       13· · · · A· · I don't remember.
     14· · · · A· · It's difficult for me to read the small             14· · · · Q· · So are you aware that the plaintiffs in this
     15· ·print.· As I told you, I only have one eye and that           15· ·case are alleging a breach of that Investment Services
     16· ·eye is not 20/20.                                             16· ·and Custody Agreement?
     17· · · · Q· · Okay.                                               17· · · · A· · When I can see it, I can comment.· When did
     18· · · · A· · It's going to take me an hour to read this.         18· ·I sign?· Are you talking about signing a transfer of
     19· · · · Q· · Okay.· Well, let me ask you this:· Sitting          19· ·assets or cash or what?
     20· ·here right now, can you identify any provision of the         20· · · · Q· · No, here, I'll show you right now.
     21· ·Investment Policy Statement that First Western                21· · · · A· · I don't know what you're talking about.
     22· ·breached?                                                     22· · · · Q· · Okay.· I put it up on my screen a document
     23· · · · · · · · · MR. ROB PODOLL:· Object.· Form.                23· ·that is Tab 9 in your binder.
     24· · · · A· · I think they're all in violation of 401.            24· · · · A· · And what's the date of that agreement?
     25· ·BY MR. STERN:                                                 25· · · · Q· · Hold on one second.· I ask the questions

                                                          Page 130                                                         Page 132
     ·1· · · · Q· · Okay.· Okay.· Well, that didn't answer my           ·1· ·here.· So I'm going to mark the Investment Services
     ·2· ·question.· Sitting here today, can you identify any           ·2· ·and Custody Agreement Exhibit 7 and you're welcome to
     ·3· ·provision in the Investment Policy Statement that             ·3· ·look at the hard copy, which is Tab 9 in your binder,
     ·4· ·First Western breached?                                       ·4· ·but I'm also showing it on my screen.· I'll go to the
     ·5· · · · · · · · · MR. ROB PODOLL:· Object.· Form.                ·5· ·last page of it and I'll ask you, is that your
     ·6· · · · A· · Not reading the last -- the third paragraph         ·6· ·signature on the Investment Services and Custody
     ·7· ·fully, the last section is easily violated, there's           ·7· ·Agreement dated May 2018?
     ·8· ·those certain sentences in the first paragraph.· I'm          ·8· · · · · · · · · (Exhibit No. 7 marked.)
     ·9· ·sorry, I can't read it all, even on your screen that          ·9· · · · A· · I think that this was signed ten days before
     10· ·was there.· Well, it says, "None currently                    10· ·they had any securities.
     11· ·anticipated" under liquidity, I think that's wrong, I         11· ·BY MR. STERN:
     12· ·didn't notice it at the time.                                 12· · · · Q· · Okay.· So did you, in fact, sign the
     13· ·BY MR. STERN:                                                 13· ·Investment Services and Custody Agreement on May 8,
     14· · · · Q· · Okay.· I think we can move on.                      14· ·2018?
     15· · · · A· · It says, "Steady growth is expected," they          15· · · · A· · If that's the date they put there, I cannot
     16· ·didn't have that.· "Strategic portfolio, moderate"            16· ·contest it now.· I don't know.
     17· ·well, that could be interpreted differently.· They            17· · · · Q· · Is that your signature?
     18· ·told me it would be 6 percent a year and they have            18· · · · A· · But I know -- I think the other agreement
     19· ·that in writing elsewhere.· The investment strategy,          19· ·was signed on the 18th.
     20· ·they didn't live up to that.· They didn't -- they             20· · · · Q· · Is that your signature on page 6 of the
     21· ·diversified, but not properly.· "Seek to achieve              21· ·Investment Services and Custody Agreement?
     22· ·financial goals," they didn't do that.· "Minimize tax         22· · · · A· · It's my signature and it's Barbara's
     23· ·liabilities," they need to work at that.· "Monitor and        23· ·signature.
     24· ·revise portfolio periodically, as required," well,            24· · · · Q· · Okay.· Did you review the Investment
     25· ·they sort of did that but not fully.                          25· ·Services and Custody Agreement before signing it?


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     ·1· · · · A· · No, because I thought it was SOP.            ·1· · · · Q· · Okay.· But you didn't give any opinions to
     ·2· · · · Q· · Okay.· Did you understand that the           ·2· ·First Western about what assets to buy, did you?
     ·3· ·Investment Services and Custody Agreement governed     ·3· · · · A· · I gave them authority to invest the money,
     ·4· ·First Western's Trust and the trusts relationship?     ·4· ·yes.· But I also --
     ·5· · · · A· · I don't remember that, I don't think so.     ·5· · · · Q· · Did you give First -- did you ever instruct
     ·6· · · · Q· · You don't think so?                          ·6· ·First Western to buy specific securities for the trust
     ·7· · · · A· · I don't remember -- it says trust. I         ·7· ·accounts?
     ·8· ·fully -- I doubt if I read it.· They put the papers in ·8· · · · A· · They asked me almost every time I went,
     ·9· ·front of me, we signed a lot of papers.· I trusted     ·9· ·where are you working?· What are you researching?
     10· ·them.                                                  10· ·Just tell us the name.· I gave them a lot of names. I
     11· · · · Q· · Okay.· I want to go through a few provisions 11· ·can't tell you whether I said to buy or not, but I
     12· ·in this contract.· I want to start at paragraph three. 12· ·said, I like this security, this is why I like it.
     13· ·Do you see it says, "Client hereby grants First        13· · · · Q· · Okay.· I want to go to paragraph seven,
     14· ·Western–-"                                             14· ·Fees.· Well, I guess -- I mean, you understood that
     15· · · · A· · Wait a second.· Let me get -- where does it  15· ·First Western Trust Bank wasn't going to provide their
     16· ·say client?                                            16· ·services for free, right?
     17· · · · Q· · It's up on my screen --                      17· · · · A· · Yes.· I agreed to pay them a fee.
     18· · · · A· · Okay.· Right here, okay.                     18· · · · Q· · And did you know that First Western Trust
     19· · · · Q· · Do you see that the first sentence of        19· ·Bank was going to charge you a portfolio fee based on
     20· ·paragraph three of the Investment Services and Custody 20· ·the number of assets under management?
     21· ·Agreement states, "Client hereby grants to FWTB, First 21· · · · A· · Yes.
     22· ·Western Trust Bank, full and complete discretion and   22· · · · Q· · You agreed to that before you allowed First
     23· ·authority with respect to managing the investment of   23· ·Western to invest the trust accounts, right?
     24· ·client's assets"?                                      24· · · · A· · I forgot -- I forgot what their fee was.
     25· · · · A· · Yes.                                         25· · · · Q· · Okay.· And you also understood, didn't you,

                                                          Page 134                                                           Page 136
     ·1· · · · Q· · You don't contest that, do you?· You agree       ·1· ·that if the trust invested in mutual funds or
     ·2· ·that First Western Trust Bank had complete discretion      ·2· ·investment funds, that the mutual or investment funds
     ·3· ·and authority, right?                                      ·3· ·might charge another fee, right?
     ·4· · · · A· · Well, in another paragraph they say they         ·4· · · · A· · No.· They, as other managers, told me their
     ·5· ·would consult with me.· So this is different than the      ·5· ·fee included those fees and I asked them many times,
     ·6· ·other paragraph you read me before.                        ·6· ·what are these other people charging you?· What am I
     ·7· · · · Q· · Okay.                                            ·7· ·paying that I don't know?· And they never told me
     ·8· · · · A· · There's a difference in paragraphs.              ·8· ·once.· That was another reason I was unhappy with
     ·9· · · · Q· · Okay.· Can you see at the bottom there it        ·9· ·them.· I didn't know what they were paying all these
     10· ·says, "Client reserves the authority to direct and         10· ·other managers that they had.· And had I known, I
     11· ·determine at any and all times the selection of any        11· ·probably would have closed the account a lot sooner if
     12· ·security for purchase and sale in their account;           12· ·it was -- if it's as much as some people tell me they
     13· ·however, the exercise of this authority, with respect      13· ·charged.
     14· ·to one or more individual securities, shall not be         14· · · · Q· · So do you see the second paragraph of
     15· ·construed as a revocation of the authority granted to      15· ·paragraph seven it says, "FWTB made direct client
     16· ·FWTB provided for in this agreement"?                      16· ·funds to be invested in shares or similar ownership
     17· · · · A· · Yes.                                             17· ·interest in of mutual funds, privately offered
     18· · · · Q· · So you realize, don't you, that you could        18· ·investment funds, manage accounts or other investment
     19· ·have called up First Western at anytime and told them      19· ·funds.· In addition to the portfolio fee charged
     20· ·to change their investments, right?                        20· ·directly by FWTB, the client may also pay a direct
     21· · · · A· · You know, that may be true, but Andy said        21· ·asset management fee for separate account managers
     22· ·since my experience, they welcomed my opinion any          22· ·including managers affiliated with FWTB and an
     23· ·time, all the time.· He always said to me, we welcome      23· ·indirect asset management fee to each investment fund
     24· ·your opinions.· You have more experience than any of       24· ·or mutual fund"?
     25· ·us.                                                        25· · · · A· · I read that a little differently.


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     ·1· ·be liable for any act, omission, loss, depreciation,            ·1· ·Agreement which is Tab 8 in your binder will be
     ·2· ·or error in judgment that may occur in connection with          ·2· ·Exhibit 9.· And do you have the Fee Schedule Agreement
     ·3· ·FWTB's handling of the clients account, except for              ·3· ·in front of you, Mr. Fleck?
     ·4· ·such that may result from FWTB's gross negligence or            ·4· · · · A· · Yes.
     ·5· ·willfulness misconduct.· Client understands that                ·5· · · · Q· · Okay.· And did you, in fact, sign the Fee
     ·6· ·nothing in this agreement shall be construed as a               ·6· ·Schedule Agreement; is that your signature on the
     ·7· ·waiver or limitation of any rights the client may have          ·7· ·bottom?
     ·8· ·under applicable federal or state securities laws";             ·8· · · · A· · Yes.
     ·9· ·did you read that before you signed this agreement?             ·9· · · · Q· · And before you signed the Fee Schedule
     10· · · · A· · I don't recall reading it, but there are              10· ·Agreement, did you read it?
     11· ·cases that oppose that.                                         11· · · · A· · I doubt it, but I was told that we were paid
     12· · · · Q· · Okay.· I mean, when you were an investment            12· ·a total fee -- I'm not certain if it was 0.8 percent
     13· ·advisor, or an investment manager, did you make your            13· ·for the $8 million.
     14· ·clients sign similar agreements that exculpated you if          14· · · · Q· · Okay.· Well, you can read the Fee Schedule
     15· ·you acted in good faith?                                        15· ·Agreement now, and do you see that it discloses what
     16· · · · · · · · · MR. ROB PODOLL:· Object.· Form.                  16· ·annual percentage fee will be charged based on the
     17· · · · A· · I didn't ask them to sign anything. I                 17· ·amount of assets under management?
     18· ·repeat something I said once or twice before: I                 18· · · · A· · I think I was told it's cumulative, they
     19· ·trusted them that they would do the right thing.                19· ·don't do it first, second, and third million.· That
     20· ·BY MR. STERN:                                                   20· ·they do it on the total amount that you have and I
     21· · · · Q· · Okay.· Do you see in paragraph eight where            21· ·think they told me that the total amount I had, it
     22· ·it says, at the last sentence, "Client agrees to                22· ·wasn't there than 0.8.
     23· ·indemnify and hold harmless FWTB, and FWTB's officers, 23· · · · Q· · But you agreed --
     24· ·employees and affiliates, from and against any loss,            24· · · · · · · · · (Deponent crosstalk, inaudible.)
     25· ·damage, and expense (including reasonable attorneys             25· · · · Q· · Say that last thing again.

                                                             Page 146                                                                  Page 148
     ·1· ·fees) not directly resulting from a breach by FWTB of           ·1· · · · A· · It may have been 0.6 or 0.7.· I think the
     ·2· ·its standard of care or for its willful misconduct"?            ·2· ·total came to 0.8.
     ·3· · · · A· · From what I know a little bit about other             ·3· · · · Q· · Okay.· So you agreed that the trusts --
     ·4· ·cases, the courts have thrown this sentence out.                ·4· ·sorry, strike that.· You agreed that the bank, First
     ·5· · · · Q· · Okay.· Can --                                         ·5· ·Western Trust Bank, could charge the trust an annual
     ·6· · · · A· · You cannot -- I won't go into the decisions           ·6· ·portfolio fee of somewhere around 0.8 percent,
     ·7· ·of other cases.                                                 ·7· ·correct?
     ·8· · · · Q· · Okay.· Do you agree that under this                   ·8· · · · A· · I can't recall exactly, but that stands out
     ·9· ·provision, that First Western Trust Bank is found not           ·9· ·in my mind.
     10· ·to be held liable in this case, that you and the                10· · · · Q· · Okay.· And do you see the second bullet
     11· ·plaintiff will be required to pay their attorneys fees          11· ·under Additional Information in the Fee Schedule
     12· ·and expenses?                                                   12· ·Agreement where it says, "First Western Trust Bank may
     13· · · · · · · · · MR. ROB PODOLL:· Object.· Form.                  13· ·direct client funds to be invested in shares or
     14· · · · A· · I cannot say I agreed to it.· I didn't know           14· ·similar ownership interests of mutual funds, privately
     15· ·it existed.                                                     15· ·offered investment funds, managed accounts or other
     16· ·BY MR. STERN:                                                   16· ·investment funds that are managed by an affiliate of
     17· · · · Q· · Okay.· I'm going to ask you what about one            17· ·FWTB.· In such cases, the affiliate will charge an
     18· ·more agreement, which is the fee agreement.· This is            18· ·asset management fee within the investment fund or to
     19· ·Tab 8 in your binder and I'm going to mark this as              19· ·the account in the case of the separate account.· The
     20· ·Exhibit 10.                                                     20· ·asset management fee is separate from the portfolio
     21· · · · · · · · · COURT REPORTER:· You are on Exhibit 9.           21· ·fee charged directly by FWTB"; do you see that?
     22· · · · · · · · · MR. STERN:· Okay.· Thank you.                    22· · · · A· · I see that, but I didn't know that before.
     23· · · · · · · · · (Exhibit No. 9 marked.)                          23· · · · Q· · But if you had bothered to read the Fee
     24· ·BY MR. STERN:                                                   24· ·Agreement, you would have known that the trusts were
     25· · · · Q· · So to correct the record, the Fee Schedule            25· ·going to be charged a portfolio fee and also a


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     ·1· · · · Q· · Do you remember how he told you --           ·1· ·original question which I don't think I got an answer
     ·2· · · · A· · And he also told me they have analysts.      ·2· ·to:· Who told you that the bank would invest for the
     ·3· ·They watch the securities, they look at them, not that ·3· ·trusts in a concentrated manner?
     ·4· ·they buy in pack.· Whether they know anything -- a     ·4· · · · A· · They told me that they had analysts and they
     ·5· ·money manager is supposed to know something about the ·5· ·would look at to look at the securities that they
     ·6· ·company he is recommending to a person.· It turns out  ·6· ·purchased.· I showed them the way I liked it, I give
     ·7· ·they do nothing about any of the companies.· They      ·7· ·them two accounts, I thought they were going to do
     ·8· ·couldn't tell me why they bought them.                 ·8· ·that.· When the first time I saw how many shares, I
     ·9· · · · Q· · Okay.                                        ·9· ·went in and said to the bank and I said, I don't like
     10· · · · A· · They just buy a fund.                        10· ·this and then I let it go on for months and I saw what
     11· · · · Q· · Are you claiming that First Western promised 11· ·they did, they basically -- frankly, I don't think
     12· ·you that they would invest using the same philosophy   12· ·they are money managers.
     13· ·that you used?                                         13· · · · Q· · Okay.· I want to go back to my original
     14· · · · A· · Not the same philosophy I used, but in       14· ·question:· I think you've answered it --
     15· ·concentration and not 185 or 200 different securities. 15· · · · A· · They're fund buyers, that's what they are,
     16· · · · Q· · And when did First Western tell you that     16· ·fund buyers.
     17· ·they would invest for the trusts using a concentrated  17· · · · Q· · Please try to answer my question, Mr. Fleck.
     18· ·strategy rather than a diversified strategy?           18· ·Who told you, if anyone, that the bank would invest
     19· · · · A· · Long before I turned over the stocks to      19· ·the trusts assets in a concentrated manner?
     20· ·them.                                                  20· · · · A· · The way Andy talked, I can't say he said, we
     21· · · · Q· · Who told you that?                           21· ·would do this, but he says, we see what you do and I
     22· · · · A· · The only person that really talked to me     22· ·don't remember all his words.
     23· ·over a period of time was Andy Godfrey.· The young man 23· · · · Q· · Okay.· So to be clear, you don't have any
     24· ·just sat there and never said a word.· I told Charlie  24· ·memory as we sit here today --
     25· ·Bantis that I would send over money to them and I kept 25· · · · A· · And I kept talking about concentration.· So

                                                          Page 162                                                      Page 164
     ·1· ·my word, at my loss.· But I kept my word, which I've     ·1· ·if they didn't have 20 stocks they had 40, that's
     ·2· ·done all my life.· When I spoke to -- there was two      ·2· ·concentration, not 230.
     ·3· ·men that came to the meeting, one was -- and what was ·3· · · · Q· · Okay.· Sitting here today, you can't recall
     ·4· ·the other man's name, what was his name?                 ·4· ·any specific person at the bank who told you that they
     ·5· · · · Q· · John Sawyer or Doug Barker or Travis. I             ·5· ·would invest the trusts assets in a concentrated
     ·6· ·think it was Barker but I'm not certain.· But I spoke         ·6· ·manner; is that correct?
     ·7· ·to Barker on the Zoom and the questions I asked him,          ·7· · · · A· · I really can't answer that question because
     ·8· ·he just didn't seem to understand.                            ·8· ·I'm not really thinking clearly, but I can't remember
     ·9· · · · Q· · Okay.· Why --                                       ·9· ·who, but I know it was told to me.
     10· · · · A· · He was blank.· And if he was a fund manager,        10· · · · Q· · Okay.· Did anyone at First Western Trust
     11· ·I was shocked.                                                11· ·Bank ever tell you that First Western Trust Bank was a
     12· · · · Q· · Okay.· So before you approved First Western         12· ·registered investment advisor?
     13· ·investing for the trusts, you knew that Doug Barker           13· · · · A· · I do not recall them saying that but most
     14· ·was the portfolio manager, right?                             14· ·banks that I know, their employees and their trust
     15· · · · A· · No, I think they had another name.                  15· ·departments are registered investment advisors.· So I
     16· · · · Q· · Well, you met Doug Barker at the meeting in         16· ·can't tell you that anybody used the term RIA.
     17· ·2018, you said he was on Zoom, right?                         17· · · · Q· · Okay.· Did anyone at the bank ever tell you
     18· · · · A· · I met two of them.· They wanted me to talk          18· ·that First Western Trust Bank employed professional
     19· ·to them because they said they were the best of their         19· ·money managers?
     20· ·department, I was willing.· I think it was a fund             20· · · · A· · They told me they had their own analysts. I
     21· ·manager, but I don't know.                                    21· ·don't recall whether they said professional money
     22· · · · Q· · Okay.                                               22· ·managers.
     23· · · · A· · But when we talked later on, he was the only        23· · · · Q· · Okay.
     24· ·one who talked to me and nobody else.                         24· · · · A· · I cannot recall the exact -- all the exact
     25· · · · Q· · I want to go back to my specific -- my              25· ·words they said or promised.


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    AARON H. FLECK                                                                                                  March 01, 2022
    FLECK REVOCABLE TRUST vs FIRST WESTERN                                                                                165–168
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     ·1· · · · Q· · Okay.· Who told you that the bank had               ·1· ·investment advisor?
     ·2· ·analysts, was that just Andy Godfrey?                         ·2· · · · A· · I did not know.· They spent a year giving me
     ·3· · · · A· · I don't know if it was at the meeting with          ·3· ·year information, having me participate in
     ·4· ·the two guys or it was somebody in the office, but I          ·4· ·conferences, and I thought the people I spoke to were
     ·5· ·asked that question.· I think it was when the two guys        ·5· ·very smart.
     ·6· ·were there from Denver.· Do you have analysts and I           ·6· · · · Q· · Okay.· Do you claim that First Western Trust
     ·7· ·thought they said yes.                                        ·7· ·Bank did not employ professional money managers?
     ·8· · · · Q· · Okay.· When you approved First Western to be        ·8· · · · A· · No.· I don't know whether they were or not.
     ·9· ·the -- manage the trusts assets, did you believe that         ·9· · · · Q· · Okay.· Do you claim in this lawsuit that
     10· ·First Western was a registered investment advisor?            10· ·First Western Trust Bank is liable for not earning a
     11· · · · A· · I cannot say yes or no.· I can't remember           11· ·higher rate of return for the trusts portfolios?
     12· ·what I believed on that score.                                12· · · · A· · I can't recall everything else in the
     13· · · · Q· · Okay.· Are you aware that --                        13· ·complaints that you call them.· I don't recall
     14· · · · A· · I don't know if they said yes or no.· It was        14· ·everything in the complaint.· There are many pages and
     15· ·a question I asked, but I don't remember.                     15· ·sometimes my memory doesn't include everything that
     16· · · · Q· · Okay.· Are you aware that it's publicly             16· ·I'm supposed to know.
     17· ·available who is a registered investment advisor?             17· · · · Q· · I'm just trying to understand why you're
     18· · · · A· · I know that.· If you're saying I didn't             18· ·suing First Western Trust Bank.· I mean, are you suing
     19· ·investigate the bank enough to say who they are and           19· ·First Western Trust Bank for not earning a higher rate
     20· ·what they've done and what they haven't done, yes. I          20· ·of return for the trusts?
     21· ·did not investigate them because I made a promise,            21· · · · A· · I'm suing them for the total misperformance,
     22· ·maybe you don't understand.· I made a promise and I           22· ·the negligence, and for all the wrongs that they've
     23· ·kept it by giving them money.                                 23· ·done to me and other clients.
     24· · · · Q· · Okay.· So I know you're trying to anticipate        24· · · · Q· · Do you claim that First Western Trust Bank
     25· ·where my questions are going, but please just try to          25· ·lost $800,000 of the trusts' funds?

                                                            Page 166                                                               Page 168
     ·1· ·just answer my question.· I think this will go faster.        ·1· · · · A· · I don't know what happened to it, it just
     ·2· ·My question is:· Are you aware that who is a                  ·2· ·disappeared out of the account.· I never got it.· When
     ·3· ·registered investment advisor is publicly available?          ·3· ·Citicorp came, they said they never got it.· So I do
     ·4· · · · A· · Yes.                                                ·4· ·not know.· I cannot say what happened.· It just
     ·5· · · · Q· · Before you approved First Western Trust Bank        ·5· ·disappeared.
     ·6· ·to --                                                         ·6· · · · Q· · Okay.· So the trusts -- First Western made
     ·7· · · · A· · Am I aware now?· I know there are lists but         ·7· ·approximately $800,000 in distributions to you from
     ·8· ·I've never checked the lists.                                 ·8· ·the trust; do you agree with that?
     ·9· · · · Q· · Okay.· So that was my next question.· So            ·9· · · · A· · I can't agree with that because I don't
     10· ·hopefully you can confirm, is it correct that before          10· ·remember.· I do not remember any 800,000.
     11· ·you approved First Western Trust Bank to invest for           11· · · · Q· · Okay.
     12· ·the trusts, you didn't look up whether or not First           12· · · · A· · When the facts -- it was transferred over,
     13· ·Western Trust Bank was a registered investment                13· ·they said it was included in what was transferred.
     14· ·advisor?                                                      14· ·Citicorp says they never got it.· That's all I know.
     15· · · · A· · No, that's not true.                                15· · · · Q· · Okay.· Have you checked your checking
     16· · · · Q· · Why is that not true?                               16· ·accounts to see whether the $800,000 was transferred
     17· · · · A· · I can't tell you today what's not true, but         17· ·from the trust brokerage accounts to one of your or
     18· ·I have never -- I don't think I've ever checked the           18· ·Barbara's checking accounts?
     19· ·list of who's an RIA.                                         19· · · · A· · There was never any 800,000 put into any of
     20· · · · Q· · Okay.· Were Morgan Stanley or Citigroup             20· ·our checking accounts.· Which checking account are you
     21· ·registered investment advisers?                               21· ·talking about?· The checking accounts I had then were
     22· · · · A· · I don't know.                                       22· ·at First Western.· They weren't in First Western
     23· · · · Q· · So is it -- is it accurate that your                23· ·accounts.
     24· ·decision to hire First Western Trust Bank did not             24· · · · Q· · Okay.
     25· ·hinge on the fact that they were a registered                 25· · · · A· · You know, I can tell you that Citicorp kept


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